Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 1 of 9



                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. 18-CR-20256-MARTINEZ

  UNITED STATES OF AMERICA,                                        :
                                                                   :
                        Plaintiff,                                 :
                                                                   :
                                                                   :
  v.                                                               :
                                                                   :
  RAUL SOSA, JR.,                                                  :
                                                                   :
                        Defendant.                                 :
  . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .:

                                              SENTENCING MEMORANDUM

            The Defendant, RAUL SOSA, JR., through undersigned counsel, submits this

  memorandum in aid of sentencing. For the reasons explained infra, it is respectfully

  requested that this Court impose a sentence of probation rather than imprisonment as

  such a sentence would be “sufficient, but not greater than necessary” to comply with the

  goals of sentencing. See 18 U.S.C. § 3553(a).

                                                          INTRODUCTION

            On May 30, 2018, Raul Sosa, Jr., pleaded guilty as charged. (DE 40). This Court

  must now impose a sentence that gives fair weight to “the history and characteristics of

  the defendant” while being “sufficient, but not greater than necessary” to serve the

  statutory purposes of federal sentencing. 18 U.S.C. § 3553(a)(2).

            Raul Sosa, Jr., is 23 years old and, until the instant case, he has never been

  convicted of a criminal offense. He is unmarried and resides at home with his mother and

  sister. Despite trying, he never really excelled in school or extracurricular activities.


                                                                       1
                                                  LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 2 of 9



  Instead he worked for the family junkyard with his father, Raul Sosa, Sr. At the very early

  age of 20, his parents were both remanded into custody and he continued living with his

  sister and had to run the family business. The last few years have unquestionably been

  a very difficult time for Mr. Sosa.

         There is no doubt that Mr. Sosa was directed by his father to commit the offense

  to which he pleaded guilty. There is also little doubt he accepted responsibility for his

  offense and is terribly remorseful. He also has been completely forthright about his

  participation in this offense and began cooperating almost immediately after his arrest.

  Indeed, the Government has recognized his substantial assistance by filing a Motion for

  Downward Departure and Reduction of Sentence pursuant to United States Sentencing

  Guidelines § 5K1.1. (DE 45).

         While the instant memorandum is offered to assist the Court in fashioning a just

  sentence for Raul Sosa, Jr., nothing set forth herein is offered as an excuse for the actions

  that bring him before the Court. Rather, Mr. Sosa is merely providing the Court with a

  complete picture of his life to help determine what sentence is reasonable under 18 U.S.C.

  § 3553(a).

                            CONTROLLING LEGAL PRINCIPLES

         Certainly, this Court well knows its sentencing mandate. See United States v.

  Booker, 543 U.S. 220 (2005). Thus, and given that the Sentencing Guidelines are

  “effectively advisory,” and the advisory sentencing guideline range established by this

  Court at sentencing is but only one factor that must be considered in arriving at a

  reasonable sentence under 18 U.S.C. § 3553(a), Id. at 334. Mr. Sosa is asking for a

  probation sentence. As such, this Court’s sentencing decision must be subject to a
                                                   2
                                  LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 3 of 9



  “reasonableness” standard of review measured against the factors outlined by Congress

  in Section 3553(a). Booker, at 268. Thus, insofar as 18 U.S.C. § 3553(a) governs

  sentencing decisions, this Court may now find that specific guideline provisions fail to

  properly reflect § 3553(a) considerations, reflect unsound judgment, or that a different

  sentence is appropriate regardless. Rita v. United States, 127 S.Ct. 2456, 2465, 2468

  (2007).

         Accordingly, this Court may sentence the Defendant to the least amount of

  imprisonment necessary to account for the considerations and accomplish the sentencing

  purposes set forth in 18 U.S.C. § 3553(a). These include to (A) reflect the seriousness

  of the offense, to promote respect for the law, and to provide just punishment for the

  offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect the public

  from further crimes of the defendant; and (D) to provide the defendant with education or

  vocational training, medical care, or other correctional treatment in the most effective

  manner. See 18 U.S.C. § 3553(a)(2)(A)-(D). This Court will also consider the nature and

  circumstances of the offense, the history and characteristics of the defendant, and the

  kinds of sentences available. See Id. at § 3553(a)(1), (3)-(4).

       APPLICATION OF THE SENTENCING MANDATE IN THE INSTANT CASE

             A.    Section 3553(a)(1) - the nature and circumstances of the
                   offense and Mr. Sosa’s history and characteristics.

  1.     The nature and circumstances of the offense.

         Mr. Sosa pleaded guilty to Count One of a five-count Superseding Indictment. (DE

  40). Count One charges him with Conspiracy to Commit Federal Programs Bribery, in

  violation of 18 U.S.C. § 371. As to Count One, the maximum term of imprisonment is five


                                                  3
                                 LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 4 of 9



  years. 18 U.S.C. § 371. There is no statutory mandatory minimum sentence.

        At the direction of his father, Mr. Sosa and others engaged in an illegal bribery

  agreement to obtain a towing contract with the City of Opa Locka. According to the

  Government, Mr. Sosa did what his father told him to do, which was limited to delivering

  paperwork for the bid and the payment of a bribe.                  He did no negotiating. He is

  accountable for the value of payments to the elected public official which was more than

  $6,500 and less than $15,000.

        Mr. Sosa agreed to cooperate with law enforcement and freely disclosed the

  totality of his criminal involvement from the beginning of this case. He expressed his

  remorse, accepted responsibility for his conduct and provided the United States with

  complete, detailed, and truthful information. Indeed, Mr. Sosa’s father pleaded guilty as

  a result of his cooperation.    Thus, the Government has recognized his substantial

  assistance by filing a Motion for Downward Departure and Reduction of Sentence

  pursuant to United States Sentencing Guidelines § 5K1.1. (DE 45).

  2.    Mr. Sosa’s Family History and Personal Characteristics Support a Variance
        from the Advisory Guidelines.

        Mr. Sosa was born on April 6, 1995, in Miami, Florida. He is one of two children

  born to the marital union between Raul Sosa Sr., and Maura Sosa. As the Court is aware,

  Mr. Sosa’s father and mother were both found guilty of tax-related criminal offenses

  following a trial in November of 2015. Mr. Sosa’s father is also a co-defendant in the

  instant offense and is currently incarcerated at the Federal Detention Center. Mr. Sosa

  was 20 years old when his parents were remanded into custody.

        According to the PSI, Mr. Sosa believes he suffers from Attention Deficit Disorder


                                                  4
                                 LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 5 of 9



  (ADD); a neurological impairment characterized by inattention, impulsivity, and/or

  hyperactivity. He is easily distracted, disorganized, and loses things frequently. As a

  result of this, he suffered in areas in his life such as employment, relationships, and at

  school due to attention deficits and associated difficulties.

         With respect to his commission of the instant offense it is undisputed that Mr. Sosa

  at the direction of his father worked directly with others to carry out an illegal bribery

  agreement. According to the Government, Mr. Sosa did what his father told him to do,

  included delivering the paperwork for the bid to the City of Opa Locka and the bribe

  payment to the corrupt City commissioner’s designee.

                B.     The Need for the Sentence Imposed.

            1. Seriousness of Offense, Respect for Law, and Just Punishment.

         Mr. Sosa requested sentence of probation reflects the seriousness of his offense,

  promotes respect for the law, and provides just punishment for his criminal conduct given

  the circumstances of this case. Mr. Sosa has certainly accepted personal responsibility

  for his offense, and has shown, through his cooperation with the Government, that he is

  ready to lead a changed life.

            2. Deterrence.

         The sentence requested herein will provide ample specific deterrence. Mr. Sosa

  is a first-time offender who has lived an otherwise law-abiding life. There is every reason

  to believe that his conviction in this case, the requested sentence, the tainting of his

  reputation, all taken together, have sufficiently deterred him from any future misconduct.

  His lack of any criminal history bolsters this low risk of recidivism. Moreover, the publicity

  generated from his guilty plea has caused him great humiliation and embarrassment
                                                   5
                                  LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 6 of 9



  among his friends, business colleagues, and peers.

         With respect to general deterrence, the Government’s prosecution of individuals

  like Mr. Sosa resulting in felony convictions and terms of imprisonment, should be more

  than sufficient. Individuals contemplating similar misconduct will learn that he and those

  similarly situated, were imprisoned or faced the possibility of imprisonment away from

  home and their family and friends. While some may argue that the greater the sentence

  imposed, the greater the deterrence, empirical evidence establishes just the opposite.

                Evidence does not support any significant public safety
                benefit of the practice of increasing the severity of sentences
                by imposing longer prison terms. In fact, research findings
                imply that increasingly lengthy prison terms are
                counterproductive. Overall, the evidence indicates that the
                deterrent effect of lengthy prison sentences would not be
                substantially diminished if punishments were reduced from
                their current levels.

  Deterrence in Criminal Justice-Evaluating Certainty vs. Severity of Punishment,

  November 2010, The Sentencing Project.

            3. Protection of the Public.
         Mr. Sosa is not a danger to the public. He has no prior criminal history. His desire

  to lead a better life and better himself is apparent; especially in light of his cooperation

  with the Government. Based on his past history and the lack of any history of violence,

  he does not pose a significant danger to society, and a sentence of probation will aptly

  serve the interests in protecting the public, specific deterrence, and rehabilitation.




                                                   6
                                  LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 7 of 9



         4.     Education/Vocational Training or Correctional Treatment.

         Mr. Sosa would surely benefit from treatment, such as educational and vocational

  training.

         C.     Kinds of Sentences Available.

         Of course, this Court must consider the kinds of sentences available in this case.

  18 U.S.C. §3553(a)(5). As the Pre-Sentence Investigation Report makes clear, Mr.

  Sosa’s guideline imprisonment range is 10 to 16 months. However, there is no mandatory

  term of imprisonment applicable in this case, and in light of the reasons aforementioned,

  it appears that a sentence of probation adequately fulfills the goals of sentencing. It must

  also be stressed that imprisonment is not an appropriate means of promoting correction

  and rehabilitation. 18 U.S.C. §3582. Mr. Sosa acknowledges that such a sentence would

  be a variance from the Advisory Guideline range. However, coupled with any departure

  granted by this Court pursuant to the Government’s § 5K1.1 motion and Mr. Sosa’s

  cooperation, the facts surrounding Mr. Sosa’s personal characteristics, such a sentence

  would achieve the goals of sentencing.

         D.     Sentencing Guideline Calculation.

         Mr. Sosa does not dispute that the Advisory Guideline range in this case is 10-16

  months of imprisonment.

         E.     Avoiding Untoward Disparity Between Similarly Situated Defendants.

         Taking Mr. Sosa’s cooperation into account may also be necessary to avoid

  unwarranted disparities among similarly situated individuals. See § 3553(a)(6).




                                                  7
                                 LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 8 of 9



                                         CONCLUSION

         Beyond whatever sentence the Court imposes, Raul Sosa, Jr., has been punished,

  and will continue to be punished as a result of the conduct that brings him before the

  Court for sentencing. In light of all the factors mentioned supra, his clean criminal record,

  the fact that he lead a productive life as a contributing member of society for many years

  prior to these events, the fact that he will always carry the stigma of a convicted felon,

  and has done all that he can to make amends including by cooperating with the

  Government in a manner that has been recognized as substantial, the Court is urged to

  employ fair and due consideration to the characteristics mentioned supra that weigh in

  favor of a mitigated sentence in this case.           For the reasons set forth herein, it is

  respectfully requested that this Court impose a sentence lower than the advisory guideline

  range in this matter.

                                                        Respectfully submitted,

                                                        Paul D. Petruzzi, Esq.
                                                        Law Offices of Paul D. Petruzzi, P.A.
                                                        8101 Biscayne Blvd.
                                                        Penthouse 701
                                                        Miami, FL 33138
                                                        Telephone: (305) 373-6773
                                                        Facsimile: (305) 373-3832
                                                        E-mail: petruzzi-law@msn.com

                                                        By:      /s/ Paul D. Petruzzi
                                                                 PAUL D. PETRUZZI, ESQ.
                                                                 Florida Bar No. 982059




                                                  8
                                 LAW OFFICES OF PAUL D. PETRUZZI, P.A.
Case 1:18-cr-20256-JEM Document 52 Entered on FLSD Docket 09/05/2018 Page 9 of 9



                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 5, 2018, a true and correct copy of the

  foregoing was furnished to the Assistant United States Attorney assigned to this matter

  via e-mail.


                                                      By:      /s/ Paul D. Petruzzi
                                                               PAUL D. PETRUZZI, ESQ.
                                                               Attorney for Raul Sosa, Jr.




                                                9
                               LAW OFFICES OF PAUL D. PETRUZZI, P.A.
